              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                     CRIMINAL CASE NO. 1:97cr310


UNITED STATES OF AMERICA,       )
                                )
                                )
         vs.                    )                    ORDER
                                )
                                )
KENNETH EUGENE JACKSON.         )
_______________________________ )


     THIS MATTER is before the Court upon the Defendant’s Motion to

Terminate Supervised Release. [Doc. 585]. Both counsel for the Government

and the Defendant’s supervising probation officer have advised the Court’s

chambers that they do not oppose the Defendant’s Motion.

     Upon review of the Defendant’s motion, and in light of the lack of

opposition by the Government and the Defendant’s supervising probation

officer, the Court is satisfied that the early termination of the Defendant’s

supervised release is warranted by the Defendant’s conduct and is in the

interest of justice. See 18 U.S.C. § 3583(e)(1).

     Accordingly, IT IS, THEREFORE, ORDERED that the Defendant’s

Motion to Terminate Supervised Release [Doc. 585] is GRANTED, and the

Defendant’s term of supervised release is hereby terminated.



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IT IS SO ORDERED.

                               Signed: January 31, 2012




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